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October 22, 2018

BY E-MAIL AND MAIL

Christopher B. Greene, Esq.
Kaplan & Company, LLP

350 Fifth Avenue

Suite 7110

New York, New York 10118 DEFENDANT'S

EXHIBIT

Re: Sines, et al. vs. Kessler, et al.

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Dear Mr. Greene:

I write to follow up on my letter, dated August 10, 2018,
concerning Plaintiff's Responses and Objections to Defendant

Richard Spencer's First Request for Production of Documents

(hereinafter "Responses"), which Responses were served by e-mail
on July 23, 2018.

As of this writing, I have not received any reply from you
with respect to the deficiencies I noted in the letter.

Nor have I received any supplemental response informing me
whether responsive documents or things exist'; and I have not
received any actual production of documents or things in
response to the Request.

Please advise me of your clients' intention in this matter.

Thank you.

Very truly yours,
/

  

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Onn DiNucci

Most, if not all, of the Lege ny state that responsive
documents "if any" will be prodyced. None szw¥s that responsive documents
exist or do not exist. Co

 
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Christopher B. Greene, Esq.
October 22, 2018
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cc: Mr. Spencer (by e-mail only)
David L. Campbell, Esq. (by e-mail only)
Bryan Jones, Esq. (by e-mail only)
James E. Kolenich, Esq. (by e-mail only)
Elmer Woodard, Esq. (by e-mail only)
